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      1                        UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
      2                       SOUTHERN DIVISION - SANTA ANA

      3

      4    TREVOR BAUER,                  )   Case No. SACV 22-868-JVS (ADSx)
                                          )
      5         Plaintiff,                )   Santa Ana, California
                                          )   Wednesday, June 28, 2023
      6               v.                  )   10:04 A.M. to 10:53 A.M.
                                          )   11:02 A.M. to 11:30 A.M.
      7    LINDSEY C. HILL, et al.,       )   11:53 A.M. to 11:58 A.M.
                                          )
      8         Defendants.               )
                                          )
      9

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     12                         TRANSCRIPT OF PROCEEDINGS
                         BEFORE THE HONORABLE AUTUMN D. SPAETH
     13                      UNITED STATES MAGISTRATE JUDGE

     14

     15   Appearances:                    See Page 2

     16   Deputy Clerk:                   Kristee Hopkins

     17   Court Reporter:                 Recorded; CourtSmart

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      1     SANTA ANA, CALIFORNIA, WEDNESDAY, JUNE 28, 2023, 10:04 A.M.

      2         (Call to Order of the Court.)

      3              THE COURT:    Good morning, everyone.        Please be

      4   seated.

      5              UNIDENTIFIED SPEAKER:       Good morning, Your Honor.

      6              UNIDENTIFIED SPEAKER:       Good morning, Your Honor.

      7              THE CLERK:    Calling Case SACV 22-868-JVS (ADSx),

      8   Trevor Bauer v. Lindsey C. Hill, et al.

      9              And, counsel, please state your appearances for the

     10   record starting with plaintiff.

     11              BLAIR G. BROWN:       Blair Brown on behalf of

     12   Trevor Bauer.    Along with me is my colleague Ivano Ventresca.

     13              THE COURT:    Okay.     Good morning.

     14              UNIDENTIFIED SPEAKER:       Good morning.

     15              JESSE A. KAPLAN:       Good morning, Your Honor.

     16   Jesse Kaplan for Defendant and Counterclaimant Lindsey Hill.

     17   Also with me is Brett Smith.

     18              THE COURT:    All right.     Good morning.

     19              UNIDENTIFIED SPEAKER:       Good morning, Your Honor.

     20              THE COURT:    Okay.     So we have two motions today,

     21   one by Ms. Hill, one by Mr. Bauer.       So why don't we start

     22   with the depositions, the motion to quash.

     23              And, Counsel --

     24              MR. BROWN:    Yes?

     25              THE COURT:    -- the motion is yours.
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      1              MR. BROWN:    That's our motion.     Thank you.

      2              Ms. Hill has issued extremely broad document

      3   subpoenas and deposition subpoenas to five women seeking

      4   intrusive discovery into their communications, images, and

      5   interactions with Mr. Bauer, focusing especially on sexual

      6   behavior and communications, and these subpoenas would

      7   capture sexually explicit, private communications and images,

      8   including the exchange of intimate and sexually explicit

      9   messages, revealing photos or videos of the women sent to

     10   Mr. Bauer, photographs and videos of the women and Mr. Bauer

     11   engaged in consensual sex acts.

     12              Now, at a deposition, they -- the plaintiff --

     13   excuse me -- the defendant, Ms. Hill's counsel, presumably

     14   intend to question them about those communications and images

     15   and their sexual practices with Mr. Bauer.         According to

     16   Ms. Hill, at least two of these women had sexual interactions

     17   with Mr. Bauer over the course of many months, even years,

     18   and Hill wants to delve into those long histories and those

     19   requests for documents, presumably the requests that the

     20   deposition questions are not limited to allegedly consensual

     21   acts.

     22              Of these five women, only one has publicly revealed

     23   her name, and I would also point out that Ms. Hill has not

     24   provided a statement from any of these women waiving their

     25   constitutional privacy interests in the sexually explicit
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      1   information or their relationship with Mr. Bauer even though

      2   previously it appears Ms. Hill or her counsel previously

      3   communicated with them -- or most of them.         There is no

      4   reason on this record to believe that these women have waived

      5   or intend to waive their constitutional rights to sexual

      6   privacy, certainly not four of them.        This one that is has

      7   filed a lawsuit in Arizona.

      8                Bauer, on the other hand, has provided two --

      9   statements from two of the women, Jane Doe No. 1 and Jane Doe

     10   No. 2, invoking their privacy interests, and Jane Doe No. 1

     11   -- and I hope Your Honor can keep these straight.          We have --

     12                THE COURT:   It is a little confusing, and it

     13   actually is clear to use it by the Doe 1, 2, 3, 4, 5 than by

     14   the actual names, for sure.       So --

     15                MR. BROWN:   Okay.   Well, if the Court has questions

     16   about who I'm referring to, I'm happy to clarify and we could

     17   print out --

     18                THE COURT:   As long as you're referring to them in

     19   the same order that the papers were provided to me with, then

     20   we are fine.

     21                MR. BROWN:   Okay.

     22                THE COURT:   Okay?

     23                MR. BROWN:   So let's talk about Doe No. 1.      She

     24   objects -- she's one of the women who objected to the

     25   subpoenas.     She states that she's never had sex or physical
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      1   contact with Mr. Bauer, in fact she'd never met him face to

      2   face.   The only justification offered for the subpoena is

      3   that Mr. Bauer had sexually charged communications with her,

      4   and he allegedly sent her a video, but we know from other

      5   discovery in this case that she does not have that video.

      6   And I would also point out, as I did previously, this woman

      7   has never -- Doe No. 1 has never publicly revealed her

      8   identity.

      9               Doe No. 2 also objects to the subpoenas and states

     10   that she -- we have a statement from her as well.          She states

     11   she has never publicly accused Mr. Bauer of sexual assault or

     12   any nonconsensual sexual contact and that any deposition or

     13   document production from her would, quote, "only serve to

     14   harass, embarrass, and humiliate" her.        Now, she -- Ms. Hill

     15   says that this Doe No. 2 participated in the arbitration but,

     16   importantly, does not claim that she testified in the

     17   arbitration.

     18               While I'm on the subject of the arbitration, I'm

     19   just going to mention briefly, I have to be very careful

     20   because of Mr. Bauer's obligation to maintain the

     21   confidentiality of the arbitration.        I can't talk about what

     22   occurred there.    I can refer to things that have been

     23   publicly disclosed, including by Ms. Hill.         So I'll try to be

     24   careful and do that, and I hope Your Honor understands that

     25   -- the reasons why I have to do that.
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      1               Doe No. 4 has also never revealed her identity

      2   publicly.

      3               Doe No. 5 has never publicly accused Mr. Bauer of

      4   sexual assault or otherwise revealed her identity publicly.

      5               And that leaves only Doe No. 3, who is the woman

      6   who filed a lawsuit against Mr. Bauer after this lawsuit was

      7   filed, and Mr. Bauer, in that case, has counterclaimed

      8   alleging fraud and other claim and --

      9               THE COURT:   Can you tell me: Which of these women

     10   besides Doe No. 2, is it asserted, participated in the

     11   arbitration?    There's more than one; right?       It's not --

     12               MR. BROWN:   Correct.    So Ms. Hill has indicated

     13   that Doe No. 4 testified in the arbitration.         And that's the

     14   only other --

     15               THE COURT:   Okay.   Thank you.

     16               MR. BROWN:   Okay.   So Hill principally relies on

     17   the proposition that Federal Rule of Evidence 415 allows her

     18   to offer evidence of these other sexual assaults, but I think

     19   the law is clear that Rule 415 does not override the

     20   constitutionally based right to privacy that these women have

     21   and that Mr. Bauer has with respect to their relationships

     22   and communications and images and videos.         And it also

     23   doesn't override this Court's power under Rule 26 to issue a

     24   protective order to prevent humiliation, embarrassment, and

     25   to keep discovery proportional to this case and not go off
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      1   into exploration of other relationships unnecessarily.

      2              Now, there's no doubt that these -- I don't think

      3   there's any doubt that these women and Mr. Bauer have very

      4   significant constitutionally based privacy interests in their

      5   sexual activities.     We've cited any number of cases to that

      6   effect -- the John B. case, the Boler case -- and that Hill

      7   must establish a compelling need to overcome that

      8   constitutionally based sexual privacy interest in order to

      9   get the discovery she seeks.

     10              Now, our position of -- excuse --

     11              THE COURT:    Let me ask you a question.       Can I ask

     12   you a question?

     13              MR. BROWN:    Sure.

     14              THE COURT:    Does that right to privacy include a

     15   right to privacy over criminal acts?

     16              MR. BROWN:    Well, I -- we, of course, deny that

     17   there were any criminal acts.

     18              THE COURT:    Well, of course, but, you know, the

     19   distinction I'm seeing here is a right to privacy over

     20   noncriminal acts, and is there a right to privacy over sexual

     21   battery, sexual assault, allegations of the same?          So that's

     22   why I really think that there might be a difference when it

     23   comes to criminal acts, and so I'm curious if you believe

     24   that there is a difference or if all of that is protected by

     25   the California right to privacy.
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      1              MR. BROWN:    Well, in the context of civil

      2   litigation and civil discovery, if the purported victim of --

      3   or accused -- purported victim of a sexual assault wishes to

      4   invoke her right to privacy from intrusive discovery and

      5   sitting for a deposition and answering questions, publicly

      6   testifying, or using her testimony publicly, then the right

      7   to privacy does extend to someone -- even someone who might

      8   allege that there was a sexual assault in violation of the

      9   criminal law.

     10              THE COURT:    What about Mr. Bauer's right to

     11   privacy?

     12              MR. BROWN:    Mr. Bauer has a right to privacy with

     13   respect to his activities.      With respect to -- it's obviously

     14   a harder question with respect to sexual assault, the right

     15   to engage in a sexual -- the right to privacy protecting

     16   sexual assault.     I think that it extends -- the right to

     17   privacy extends to sexual activities; however, there are

     18   circumstances in which in a civil case where, if there is a

     19   sexual assault and the purported victim is willing to allow

     20   the information and her identity to be excluded, then in all

     21   likelihood that certainly would prevail.        Okay.    That's the

     22   perspective that we would have on the application of the

     23   right to privacy and sexual assault.        Mr. Bauer maintains

     24   that right.     We, of course, maintain that what is sexual

     25   assault depends on what ultimately is decided by a fact
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   1   finder, and we contest that there was ever any sexual assault

   2   occurring either with respect to Ms. Hill or these other

   3   women.

   4                THE COURT:   Of course.   Of course.    No, I

   5   understand that.

   6                MR. BROWN:   And I won't keep saying that.      Okay.

   7                Ms. Hill ignores the objections of Does 1 and 2,

   8   and she also says very little about the fact that Does 4 and

   9   5 had never publicly identified themselves as accusers of

  10   sexual assault, and she cites no case in which a court has

  11   ordered over a -- third-party objections based on sexual

  12   privacy grounds and required the third party to produce

  13   documents or submit to a deposition, nor has she cited a case

  14   in which third parties who made no public claims were forced

  15   to provide documents or testimony about their sexual history.

  16   Simply arguing that the information may be relevant is

  17   insufficient to establish a compelling need for the

  18   discovery.

  19                And I will talk about relevance for a moment here.

  20   First, this information that she seeks from these women is

  21   not directly relevant.      There's no contention that any of

  22   these witnesses -- any of these women are witnesses to acts

  23   between Mr. Bauer and Ms. Hill, that they have anything to

  24   say about that direct interaction, of course.         And in the

  25   Boler case -- the reason I talk about direct relevance here
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   1   is in the Boler case, which is a California right to privacy

   2   case, the court held that there was a stringent standard --

   3   direct relevance, not tangential relevance -- that had to be

   4   demonstrated to overcome the sexual privacy interests and the

   5   third-party sexual activities with the defendant.          In Boler,

   6   it was a sexual harassment case in which the defendant was

   7   subjected to questions at his depositions of all sorts of --

   8   about all sorts of relationships with other women.

   9              And like Hill here, the Boler plaintiff contended

  10   that the defendant's prior sexual activity would be relevant

  11   to propensity and credibility, and the court in Boler assumed

  12   that the answers would be relevant to those issues but

  13   nonetheless denied the plaintiff's questioning as unjustified

  14   and overbroad intrusions into the sexual privacy of Boler and

  15   his unnamed sexual partners, that the questions would

  16   encompass sexual conduct with third parties whose conduct may

  17   very well have been voluntary.       The court did not assume that

  18   the contacts with the women were necessarily consensual, but

  19   they would not assume that they were coercive.         It assumed

  20   that -- it concluded that it was an overbroad inquiry, would

  21   disclose intimate details of the women's private lives

  22   without justification and the defendant's private life

  23   without justification and did not allow the questioning.

  24              Now, Ms. Hill relies heavily on Rule 415.         Rule 415

  25   does not override the constitutional protection of a woman
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   1   from divulging information about private sexual matters -- a

   2   woman or a man from divulging information about private

   3   sexual matters, and that's made most clear by the Rapp v.

   4   Fowler cases that we discuss, and those cases we would draw

   5   the Court's attention to -- they involve the actor

   6   Kevin Spacey -- his true name, I think, is "Fowler" -- and

   7   there are two decisions there.       The one I want to talk about

   8   first is that the court denied discovery on sexual privacy

   9   grounds into allegations of sexual assault against Spacey by

  10   a third party who wanted to remain anonymous.

  11              There's -- the critical in those cases is the third

  12   party's desire to remain anonymous -- excuse me -- and the

  13   court explicitly held that the third-party's sexual privacy

  14   interests were not overcome by the prospect of possible

  15   future admissibility under Rule 415.        In fact, one of the

  16   third parties -- the principal third party at issue had sued

  17   Spacey under a pseudonym -- a John Doe pseudonym, but when

  18   the court ruled that he could not proceed anonymously, he

  19   dismissed the suit and then objected to providing information

  20   about his sexual interactions with Spacey in this other

  21   lawsuit that the court was addressing in Rapp v. Fowler.           And

  22   as I indicated earlier, in this case only one of the women

  23   has publicly disclosed her identity -- that's Jane Doe No. 3

  24   -- and none have stated that they wish to be subjected to a

  25   deposition, production of documents in this case.
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   1                I also note that another opinion in Rapp v. Fowler

   2   -- the 2022 decision -- which bears on the other motion, the

   3   court refused to permit discovery, again, on sexual privacy

   4   grounds of a confidential arbitration in which others --

   5   other purported victims had testified about sexual assaults

   6   by Spacey.

   7                And again, I think that -- I don't want to read

   8   from cases, but I do think that -- too much -- but I do think

   9   that the Rapp v. Fowler case is worth taking a close look at

  10   because it acknowledges the competing interests that are

  11   presented in a discovery context, like the circumstances are

  12   facing you in this particular motion here, and the decision

  13   -- the opinion by Judge Kaplan, I believe it is, explains in

  14   detail how he balances those competing interests, and

  15   ultimately his ruling there -- the right of sexual privacy,

  16   the concern about sexual privacy is sufficiently important

  17   that the identity -- unless someone has revealed their

  18   identity as a victim of a prior sexual assault, then that

  19   discovery should not be permitted, or I should say more

  20   specifically, he said that if the identity had not become

  21   public, then the discovery should not be permitted, discovery

  22   -- not gone public through a prior lawsuit or a published

  23   mainstream -- that was his word -- mainstream media report.

  24   Okay.   And I do commend that case to the Court because it

  25
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   1   does address, I think, all of the issues that the Court will

   2   need to address.

   3              There's one important distinction, though.         I mean,

   4   that case was decided under, I believe, New York law, and

   5   California's right to privacy, which is applicable in this

   6   case as a diversity case, is even stronger than anything that

   7   Judge Kaplan was looking at.      In connection with the Rapp v.

   8   Fowler case, he based it principally on the federal right to

   9   privacy and also Rule 26's provisions allowing the court to

  10   protect from discovery third parties, as well as parties, to

  11   prevent embarrassment, humiliation, and things of that

  12   nature.

  13              And in our view, a protective order is insufficient

  14   here because the invasion into the rights of privacy that

  15   would occur in a deposition or a document production --

  16   especially in a deposition, where a person has to sit in the

  17   chair in front of strangers and share intimate

  18   communications, photos and -- produce photos and videos, and

  19   reveal the tales about her sexual life to strangers, and then

  20   worry about whether that evidence will be used in a public

  21   proceeding, in a public trial.       I think that's where the

  22   right to privacy and the impact on someone's right to privacy

  23   is really at its zenith, and a protective order doesn't

  24   prevent that from occurring.

  25              We also have real concerns about compliance with a
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   1   protective order in this particular case.        Now, we do mention

   2   in our stipulation -- well, before I get to that.          Both the

   3   Boler and the Pearce (phonetic) cases cited in the

   4   stipulation at 2021 articulated the concern I just expressed

   5   about how a protective order is insufficient when someone has

   6   to reveal sexual privacy information.

   7              But jumping back to why we are concerned about

   8   compliance with a protective order here, we have filed a

   9   motion -- we -- to -- in fact, it's a motion to dismiss this

  10   case because of witness tampering, and some of that witness

  11   tampering -- and that's at Docket 119 -- it's recent, there's

  12   not been a response yet, but in one of the multiple instances

  13   of witness tampering in this case, Ms. Hill threatened to

  14   reveal a video interview of a witness by the Pasadena Police

  15   Department which had been designated confidential, and we

  16   have real concerns about whether she is going to comply with

  17   that based not only on that incident but the other incidents

  18   of witness tampering that have occurred in this case.

  19              So with that, Your Honor, those are the points we

  20   want -- I want to make with respect to the motion to quash

  21   and motion for a protective order.

  22              THE COURT:    Which -- can you tell me which "Doe" is

  23   it that this video has to do with?       That Pasadena had a video

  24   and now it's been --

  25              MR. BROWN:    It was not a "Doe."     It was a witness
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   1   who testified in a -- who gave a deposition in the domestic

   2   violence restraining order proceeding and was identified as a

   3   witness in this case.

   4              THE COURT:    Okay.

   5              MR. BROWN:    Okay?    So it was not one of the "Does."

   6              And then I assume that later we'll address the

   7   other motion?

   8              THE COURT:    Yes.    Yes.

   9              MR. BROWN:    Yes.    Thank you.

  10              THE COURT:    All right.     Thank you.

  11              MR. KAPLAN:    Good morning, Your Honor.

  12              THE COURT:    Good morning.

  13              MR. KAPLAN:    May I begin?

  14              THE COURT:    Absolutely.

  15              MR. KAPLAN:    Thank you, Your Honor.

  16              So I want to start by saying we were here last week

  17   for -- or, at least, on the phone last week for an informal

  18   discovery conference, and I think there was some discussion

  19   how counsel gets along and there is a cooperative spirit to

  20   this case between counsel while on its face one might think

  21   that this is a highly contentious case.        This case, though,

  22   is, from my perspective at least, and probably for many

  23   others who are participating, a very tough case in terms of

  24   its subject matter.     There's some facts involved that are

  25   very disturbing, and it's tough to litigate and this motion
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   1   -- or the motions we have today are not an exception.          In

   2   fact, they're -- these motions are very difficult, and they

   3   deal not only with the respective parties in this case,

   4   Ms. Hill and Mr. Bauer, but they deal with five other

   5   individuals, and they deal with facts that are sexual,

   6   graphic, and disturbing in nature.

   7              And I want to be sensitive to the privacy rights,

   8   whatever the jurisdiction might be, whether it's California

   9   or the various jurisdictions where these other women live, I

  10   do, but what we've tried to do, at least -- and I think we've

  11   been largely successful -- is trying to specifically target

  12   and narrowly tailor subpoenas to five individuals who have

  13   specific facts that are relevant -- and not only relevant,

  14   directly relevant -- to this case.       And the directly relevant

  15   has been extensively briefed in lengthy papers by all the

  16   parties under Rule of Evidence 415 and, at a minimum, go to

  17   Mr. Bauer's propensity to commit very similar acts of sexual

  18   assault.   There's also relevancy and direct relevancy going

  19   to Mr. Bauer's intent and whether or not he had a plan to

  20   commit similar sexual crimes or sexual assaults.

  21              And there's a purpose for Rule 415 that seems to be

  22   directly in play in this case, and that's because most sexual

  23   assaults occur without any eyewitnesses, and as in this case,

  24   you have a "he said versus she said," and that's why this

  25   sort of propensity evidence often becomes very necessary and
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   1   there's a more compelling need in these sexual assault cases,

   2   and that's why the legislature, in fact, made this exception

   3   under Rule 415.

   4               We're dealing with instances where we have striking

   5   similarities.     We all have -- and I know we have --

   6               THE COURT:    I -- yes.    I'm going to ask you to be

   7   careful because we are in open court, and trust me, I've read

   8   it; so I know.

   9               MR. KAPLAN:    Okay.    That was my assumption.

  10               But there are striking similarities, some of which

  11   have been publicized by, at least, some of the "Does" -- and

  12   I'm going to say something that I believe is in the public

  13   record but all deals with situations where Mr. Bauer caused

  14   these victims -- or at least some of them, not all, but some

  15   of them to become unconscious often by strangulation and

  16   engaging in sexual assault while they were unconscious.

  17               THE COURT:    Can you tell me: Which of these "Does"

  18   reside in California?

  19               MR. KAPLAN:    None of them.

  20               THE COURT:    Okay.    Are any of these -- did the acts

  21   occur in California?

  22               MR. KAPLAN:    I don't believe that they did.      I

  23   can't say that for certain, but I don't believe that to be

  24   the case.

  25               THE COURT:    And when I spoke with Mr. Brown, he
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   1   identified two of the "Does" who participated -- or that you

   2   have identified as participating in the arbitration.           Is that

   3   accurate?    Is it just two?

   4               MR. KAPLAN:    Yeah.    There's -- so there's two, and

   5   I think there's -- this is one of the issues where I don't

   6   believe there's a dispute on.       So there's Doe 2 -- she had

   7   some participation with Major League Baseball.          My

   8   understanding, based on what she has disclosed to my client,

   9   is that she did not -- or elected ultimately not to testify.

  10   Doe 4, however, both participated in terms of speaking to

  11   Major League Baseball in the investigation phase; she also

  12   testified at the arbitration, and we know, based on what she

  13   disclosed to my client, that she also presented two videos

  14   evidencing Mr. Bauer's sexual assault upon her and that she

  15   -- those were presented during the arbitration, and she

  16   testified about those two videos.

  17               THE COURT:    All right.    Thank you.

  18               MR. KAPLAN:    All right.    So unlike --

  19               THE COURT:    Excuse me.    I think we have a visitor.

  20               Hello?

  21               JUDGE MC CORMICK:      How are you?

  22               THE COURT:    I'm doing well.

  23               Everybody, Judge McCormick.

  24               MR. KAPLAN:    Good morning, Your Honor.

  25               THE COURT:    All right.    CVB.   We share here
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   1   courtrooms here -- magistrate judges do.

   2              All right.    Please proceed.

   3              MR. KAPLAN:    Unlike cases that have been cited and

   4   discussed in the briefing, such as the Boler and the Rapp-

   5   Kevin Spacey case -- in those cases we saw that the

   6   plaintiffs had requested essentially: "Give us a list of all

   7   your sexual partners from" a given certain period of time.

   8   This case we've identified specifically five women, four of

   9   which were victims of sexual assault, and we know very

  10   specific allegations concerning each of those witnesses, and,

  11   again, those all have been briefed.        I'm not going to go into

  12   any detail during this hearing unless the Court would like me

  13   to.

  14              So we've demonstrated direct relevance, we've

  15   demonstrated a need for this information, and we've laid an

  16   adequate foundation that at least four of the five women have

  17   been sexual assaulted, and we provide details about that.

  18   And contrary to what Mr. Bauer claims, we don't need to put

  19   in a declaration from those women evidencing these -- the

  20   sexual assault in order to get the discovery.         I think that

  21   would be reversing the process and putting the cart before

  22   the horse, but we have placed into the record -- at least, I

  23   think, three articles we've placed into the record:          evidence

  24   from the Pasadena Police -- I'm sorry -- Pasadena Police

  25   Department and their discussions or records about their
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   1   discussion with one of the "Does," as well as documents that

   2   were provided by another "Doe," and then there's, also, a

   3   declaration --

   4              THE COURT:    Can you tell me: That police report --

   5   which of the "Does" does it relate to just so I --

   6              MR. KAPLAN:    So there's two of them.

   7              THE COURT:    All right.

   8              MR. KAPLAN:    I'm going to try to be careful here.

   9              So Doe 1 in the police -- well, one of the exhibits

  10   -- and I could draw the Court's attention to it if you'd like

  11   -- apparently the police department -- or Doe 1 called the

  12   police department or -- I'm getting a little confused --

  13              THE COURT:    Okay.    I don't need the facts but I

  14   just --

  15              MR. KAPLAN:    Yeah.

  16              THE COURT:    So it's Doe 1 and which other one?

  17              MR. KAPLAN:    And then for Doe 2, Doe 2's attorney

  18   sent a letter with documentary evidence to the police

  19   department.

  20              THE COURT:    Okay.    Thank you.

  21              MR. KAPLAN:    And I believe the Doe 1 materials were

  22   attached to Mr. Brown's declaration, and the Doe 2 materials

  23   were attached to my declaration.

  24              THE COURT:    Okay.

  25              MR. KAPLAN:    So we've laid an adequate foundation
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   1   that -- laying out very specific and graphic facts about what

   2   happened in the sexual assaults and batteries that occurred

   3   between Bauer and four of these women, as well as what

   4   happened in terms of Doe 1.       Now, Mr. Brown is correct --

   5   well, I'll get to Doe 1 in a second.        But we've laid an

   6   adequate foundation for all of these, and we also have

   7   declaration from my client, as well as myself, in terms of

   8   information that was disclosed by three of these "Does," two

   9   of them -- a lot of details directly from two of these "Does"

  10   to Ms. Hill, and I think it's, perhaps, obvious but they -- I

  11   think they --

  12              THE COURT:    Specifically, which "Does" gave

  13   specific detail to Ms. Hill?

  14              MR. KAPLAN:    Yeah.    So, in particular, Doe No. 4.

  15   And they both spoke quite a bit because they were both

  16   participating in the Major League Baseball arbitration.

  17              THE COURT:    Uh-huh.

  18              MR. KAPLAN:    And I think they began talking earlier

  19   than that when the investigation was ongoing or began.          And

  20   also, Doe 2 -- same -- similar situation where they were

  21   talking about and disclosing information to each other,

  22   including their identities.

  23              So I want to touch on each of the five "Does," and

  24   there's some unique facts as to some of them or when you

  25   compare them.
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   1              I want to start with Doe No. 4 because I think

   2   getting information about -- or additional information about

   3   Doe No. 4 really is critical here.       I'm not going to

   4   summarize the facts other than to say -- and I may have

   5   misheard Mr. Brown so I'm not going to characterize what he

   6   said, but it is clear from the information we've received,

   7   including the information that was in The Washington Post and

   8   Yahoo! Sports article that Doe 4 has accused Mr. Bauer on

   9   multiple occasions of sexually assaulting her, and those

  10   facts were publicly disclosed by Doe 4.        She voluntarily was

  11   interviewed and spoke to, with her counsel, The Washington

  12   Post, and obviously that article, as well as the

  13   Yahoo! Sports article, are in the record.        So we do have

  14   public allegations of sexual assault and battery by Doe 4.

  15              Now, we also -- and you just asked about this,

  16   Your Honor, but Doe 4 also -- in addition to disclosing these

  17   allegations to The Washington Post, she also voluntarily

  18   disclosed these allegations to Major League Baseball and,

  19   again, testified at the Major League Baseball arbitration.

  20   And we also know that in the process of doing so she

  21   provided, I believe -- at least she said she provided two

  22   videos evidencing the sexual assaults -- or two sexual

  23   assaults that were provided to the Major League Baseball

  24   and/or during the arbitration, and she testified about those

  25   videos at the arbitration.      And I respect that Mr. Brown is
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   1   being very careful about what he discloses or says about that

   2   arbitration, but there's been nothing in the record that

   3   disputes that Doe 4 participated in the arbitration:

   4   testified, provided these videos.

   5              And I don't want to segue too much into the next

   6   motion, but there's also not a dispute that with respect to

   7   Doe No 4 that there are materials from the arbitration and

   8   the Major League Baseball investigation concerning Doe 4, and

   9   those would include transcripts of Doe 4's testimony about

  10   sexual assault, perhaps briefing, the videos, as I just

  11   stated, maybe other documentary evidence, and maybe

  12   Mr. Bauer's testimony or transcripts of that testimony from

  13   the arbitration.     All of this would be directly relevant, and

  14   I'm not sure, on balance, which I understand the Court will

  15   have to do -- why, on balance, given that Doe 4 has done all

  16   these things -- why that information can't come in -- or be

  17   disclosed here in this proceeding.

  18              I also want to touch on, very quickly, Doe 3.

  19   There doesn't seem to be much of any dispute from Bauer that

  20   based on the circumstances of Doe 3 that any privacy

  21   interests would be outweighed by the need for getting

  22   testimony about her sexual assaults by Mr. Bauer.          And just

  23   to summarize very briefly, she has publicly accused in a

  24   publicly filed lawsuit Mr. Bauer of sexual assault and rape,

  25   and, again, the facts are very strikingly similar to what
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   1   occurred to Ms. Hill.     She's disclosed her identity, she's

   2   disclosed those facts, and there's been no objection to date

   3   to her testifying.

   4              And I apologize.     Just going back real quickly to

   5   Doe No 4, Doe 4 has also disclosed her identity to my client

   6   as well, and to date, there's been no objection to

   7   participating in this lawsuit -- or to testifying or anything

   8   else -- from Doe 4.

   9              Now, I want to, again, be sensitive and mindful to

  10   privacy rights and, perhaps, desires to remain anonymous by

  11   any of these women, and I disagree with Mr. Brown that a

  12   protective order and sealing would not adequately address

  13   those issues, especially for Does 3 and 4.         We do have a

  14   protective order.     There's no reason why any materials

  15   concerning Does 3 or 4 cannot be designated as either

  16   confidential or even, if appropriate, attorneys' eyes only

  17   under the stipulated protective order.        There's been several

  18   sealing applications already that I believe, at least,

  19   Your Honor has granted, perhaps, at least one, maybe more,

  20   and I think Judge Selna just recently granted one as well as

  21   to the information that falls under the umbrella of what

  22   we're here for today.

  23              And to the extent any of these women want to remain

  24   anonymous, there's obviously ways to do that where they can

  25   provide their testimony, information can be provided, but
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   1   their names do not need to be disclosed, and I don't think

   2   their names for purposes of these proceedings -- meaning this

   3   lawsuit -- are necessarily material.        They can be referred to

   4   as they are today, as Does 1 through -- whatever.

   5              So for Does 3 and Does 4, I think there really is a

   6   compelling need, and the privacy interests that they may have

   7   are outweighed by the need, especially under the specific

   8   factual circumstances of those two victims.

   9              I want to quickly just touch on the other three

  10   "Does."

  11              For Doe No. 5, again, there's been no objection to

  12   date by Doe 5.    She did reach out to Ms. Hill's prior counsel

  13   voluntarily and disclosed both her identity and her

  14   accusations of sexual assault by Mr. Bauer.         So based on

  15   that, I think there's not a reason, at least today, to grant

  16   a protective order as to Doe 5.

  17              Now, for the other two "Does," Mr. Brown is correct

  18   -- I believe that's Doe 1 and Doe 2 -- they have made

  19   objections to the testimony.      I want to start with Doe 1.

  20              Now, Doe 1 has not, at least as far as I know, made

  21   accusations of sexual assault.       However, she has put forward

  22   evidence -- and this is where I need to be careful about the

  23   sealing -- that shows Mr. Bauer's intent and plan to commit

  24   sexual assault.     Those details are in the record.       I'm not

  25   going to repeat them unless the Court would like me to -- as
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   1   well as video or other evidence of sexual assault to another

   2   third party.     So -- and I'm trying to envision the

   3   deposition, but the questions really would not be about her

   4   sexual encounters with Mr. Bauer because I don't think those

   5   really exist.     It really would be: "What did Mr. Bauer tell

   6   you" on these very discrete subjects?        "What did Mr. Bauer

   7   show you?"     That's it.   And I think when you look at the --

   8   her privacy interests and the information we would try to be

   9   obtaining from her -- at least, that we've learned, that we

  10   believe she has -- I think her privacy interests are very

  11   minimal.     We're not asking about any sexual encounters,

  12   really, that she had with Mr. Bauer.

  13                Finally, Doe 2 -- she has made objections, but she

  14   also has publicly disclosed her allegations to The Washington

  15   Post, and participated, to a certain degree, with Major

  16   League Baseball, and disclosed her identity to Ms. Hill, and

  17   discussed her allegations with Ms. Hill.        So those facts, I

  18   think, are -- or those factors, I think, do go into the

  19   analysis, obviously, and should go into the balancing.

  20                And again, for all these "Does," there's ways to

  21   address privacy concerns and any concerns about these women

  22   wanting to remain anonymous.

  23                So unless the Court has any additional questions

  24   about the substance of this motion, I don't have anything

  25   further.
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   1               THE COURT:    With regard to Category No. 1 of the

   2   document requests with the subpoena, is there any time

   3   limitation or -- I mean, it's a pretty broad request -- "all

   4   communications."

   5               MR. KAPLAN:    Yeah.    Well, let me answer the

   6   question, and I think -- well, first of all, all the

   7   categories, I think, mirror each other for each of the

   8   subpoenas of the five women.

   9               THE COURT:    Uh-huh.

  10               MR. KAPLAN:    For Doe No. 4, who is one of the

  11   "Does" who I identify as one of the more critical "Does," I

  12   believe her allegations of sexual assault -- that she's

  13   claiming those occurred in 2013 and '14.        So, you know, the

  14   time limitations for each of these may vary depending on when

  15   the sexual assaults occurred.       The way I look at it, in my

  16   mind, is less tied to time and more tied to information

  17   concerning nonconsensual sexual conduct or, if we go beyond

  18   sexual conduct, for just battery.       So to the extent there's

  19   anything that occurred -- or there's documents reflecting

  20   those -- that sort of conduct, I don't know that we would tie

  21   it to time.    I think we have a good idea, based on

  22   information that we've already learned, when those assaults

  23   occurred.

  24               THE COURT:    All right.    Thank you.   All right.

  25   Thank --
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   1              MR. KAPLAN:    Thank you, Your Honor.

   2              MR. BROWN:    May I respond briefly?

   3              THE COURT:    Yes.

   4              MR. BROWN:    Thank you.    Just a few additional

   5   points here.

   6              You know, I want to be sensitive and careful about

   7   the way I say things, but simply calling something a "sexual

   8   assault" does not mean it's a sexual assault and this --

   9   there was enough in the public record for me to be able to

  10   say that the sexual conduct that we are talking about here --

  11   much of it, even in the particular allegations here --

  12   involve consensual, rough sex.       Okay.     Now, I realize that

  13   there are contentions from Ms. Hill, and perhaps from others,

  14   that some of that strayed into areas that were nonconsensual,

  15   and we'll see, in the case of Ms. Hill, where that leads,

  16   although, a judge in the domestic violence restraining order

  17   proceeding found that everything -- "everything" that

  18   occurred between her and Mr. Bauer was consensual and that

  19   Ms. Hill was materially misleading.          So simply coming up here

  20   and saying that these were all sexual assaults simply is not

  21   the case and especially in the context of rough sex, and

  22   people who might not engage in that practice -- and some of

  23   those practices --

  24              THE COURT:    I'm aware of the --

  25              MR. BROWN:    Yes.   Very well.
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   1              THE COURT:    I read the stuff pretty closely.       So

   2   I'm aware of --

   3              MR. BROWN:    Okay.   All right.

   4              THE COURT:    -- what you're talking about and --

   5              MR. BROWN:    You're talking -- okay.

   6              THE COURT:    So I understand.

   7              MR. BROWN:    So I think it's understandable why

   8   these women may not want to -- whether it's rough sex or

   9   vanilla sex, want to have their sexual privacy invaded or

  10   have information disclosed.

  11              THE COURT:    Can I ask a question?

  12              MR. BROWN:    Yes.

  13              THE COURT:    Besides the two that we have evidence

  14   that they've asserted an objection and a privacy, why do --

  15   what do we have -- why do we have reason to believe that the

  16   other three did?     I mean, we're sort of broadly arguing that

  17   that they all want privacy, but we really only know that two

  18   have asked for privacy.

  19              MR. BROWN:    Well, they -- well, first of all, I

  20   think that something more than acquiesce -- or something more

  21   than silence is necessary to make a determination whether

  22   someone consents to invasion of their sexual privacy.          These

  23   -- putting aside Doe 3, who's filed a lawsuit, initially pro

  24   se and now with counsel, the other two "Does," who have not

  25   filed anything, are pro se.      Okay.   They may very well not be
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   1   familiar with their rights.

   2                THE COURT:   But my question to you is, is there

   3   anything in this record that says that those two folks want

   4   to keep this information private?       We know that Doe No. 3

   5   filed a lawsuit so that's out, but what about these other

   6   two?

   7                MR. BROWN:   4 and 5.

   8                THE COURT:   Is there any evidence that they want to

   9   keep this information private in "our" record?

  10                MR. BROWN:   There is no affirmative statement from

  11   them --

  12                THE COURT:   Okay.

  13                MR. BROWN:   -- to that effect.    On the other hand,

  14   there's not a waiver of their sexual privacy rights so -- and

  15   that touches on a point I wanted to mention with respect to

  16   these.

  17                Mr. Kaplan went through each of the women and

  18   talked about the extent to which some of them, or all of

  19   them, have talked about their interactions -- some of their

  20   interactions, or all of their interactions, with Mr. Bauer.

  21   Okay.     And talking about Doe No. 5, for example, who he

  22   indicated had reached out to Ms. Hill's former counsel,

  23   presumably at the time of the DVRO proceeding -- talking to a

  24   lawyer back in 2021 privately -- she was never called to

  25   testify at the DVRO proceeding, never revealed her -- her
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   1   identity was never revealed publicly -- is quite different

   2   from what is being asked of her now two years later.

   3              And I don't think the fact that she had a private

   4   conversation with Ms. Hill's counsel, for example, means

   5   necessarily that she is more than willing to sit for a

   6   deposition and produce documents about her exchanges with Mr.

   7   Bauer, whether it's about rough sex or any other kind of sex.

   8   I don't think you can reach that conclusion.         Nor

   9   participation in a confidential MLB arbitration proceeding,

  10   whether it's by giving testimony in the case of Doe No. 4, or

  11   in the case of participating to some extent but not

  12   testifying, means that they are willing to proceed now with a

  13   deposition, a document production, and public disclosure.

  14   Because that arbitration proceeding was confidential, and so

  15   it does not mean that they're willing to do that now.

  16              THE COURT:    All right.    Anything further?

  17              MR. BROWN:    The only other point I wanted to make

  18   is that in Mr. Kaplan's discussion of the Rapp v. Fowler

  19   decision, this was not a fishing expedition.         I think he

  20   indicated that that and the Boler case both involved sort of

  21   a fishing expedition about -- asking more generally about

  22   sexual partners.     It was much more focused than that, and as

  23   I mentioned in my argument, it even included an individual

  24   who had sued Kevin Spacey under a pseudonym and then

  25   dismissed his lawsuit.      So it was focused, and the court
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   1   nevertheless upheld the assertions of the right to privacy

   2   and issued the protective order.

   3              Thank you.

   4              THE COURT:    All right.    Thank you.

   5              All right.    I'm going to take a short break,

   6   consider the arguments with regard to this motion, and I'll

   7   be right back.

   8              MR. KAPLAN:    Thank you, Your Honor.

   9              MR. BROWN:    Thank you.

  10         (Recess from 10:53 a.m. to 11:02 a.m.)

  11

  12                                AFTER RECESS

  13         (Call to Order of the Court.)

  14              THE COURT:    All right, everybody.      Please be

  15   seated.

  16              All right.    This is my ruling:

  17              The Court grants Bauer's motion to quash the

  18   subpoena as to Doe No. 1 and finds that there's no compelling

  19   need for the information sought.

  20              The motion is denied with regard to Does 2, 3, and

  21   5.   I find that there's compelling need for the information

  22   that outweighs any privacy right in this case.

  23              Now, specifically with regard, however, to item --

  24   the Document Request No. 1, that is going to be limited to

  25   nonconsensual conduct.
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   1                (Court confers with court staff.)

   2                THE COURT:    All right.   Any questions with regard

   3   to that?

   4                MR. KAPLAN:    No, Your Honor.    Thank you.

   5                THE COURT:    All right.   Now let's move on the other

   6   motion.

   7                And let me be clear with regard to these women.

   8   The fact that discovery is being ordered does not mean that

   9   you cannot seek additional rulings from Judge Selna when it

  10   comes to how the testimony is handled at trial or in any

  11   other motion.    I expect that you will be proper counselors of

  12   the law and making sure that whatever rights they end up

  13   asserting, when they assert them, get handled appropriately.

  14   That's not going to prevent the discovery in this case.

  15                MR. KAPLAN:    Of course, Your Honor.

  16                THE COURT:    All right.

  17                MR. BROWN:    Your Honor, I do have a question -- or

  18   a comment.

  19                THE COURT:    I don't need a comment, but I'll take

  20   your question.

  21                MR. BROWN:    No.   I'm sorry.   No.   Comment -- no.

  22   I'm sorry.    That's the wrong word -- because we may need to

  23   bring it up in the future at some point, and that is, you

  24   know, in order to show that certain contact was consensual,

  25   it may be necessary to get into the full range of the
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   1   relationship, and so, therefore, there may be communications

   2   about consensual -- I need to reflect on this, Your Honor,

   3   but there may be some communications about consensual conduct

   4   that may be relevant to our position that conduct was in fact

   5   consensual -- conduct that is alleged to be nonconsensual was

   6   in fact consensual.

   7              THE COURT:    So you're talking about wanting to

   8   expand the scope of the document requests that are included

   9   in the subpoena?

  10              MR. BROWN:    No.   I'm talking about the limitation

  11   that the Court imposed on No. 1 to nonconsensual --

  12              THE COURT:    Right.    So --

  13              MR. BROWN:    -- to nonconsensual conduct.

  14              THE COURT:    So you would like it be more broad --

  15              MR. BROWN:    I would -- well --

  16              THE COURT:    -- so that they will produce

  17   consensual?

  18              MR. BROWN:    I would like to reflect on it,

  19   Your Honor.    I mean, I -- maybe I -- maybe I'm giving up my

  20   only opportunity to raise this issue, but it did occur to me

  21   that that may present an issue for us.        Obviously, I accept

  22   the Court's ruling on that but --

  23              THE COURT:    Uh-huh.

  24              MR. BROWN:    -- I may -- in consultation with

  25   opposing counsel, may come back to the Court with respect to
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   1   potential clarification of that.       You know, it's --

   2              THE COURT:    Well, how about this?      I'm --

   3              MR. BROWN:    Excuse me?

   4              THE COURT:    How about this?      I'm going to guess

   5   that I just limited their deposition subpoena, right.

   6              MR. BROWN:    You did.

   7              THE COURT:    If you agree that it should be broader,

   8   he's probably going to agree to that.        So I don't know that

   9   you'll need to come to me.      If you want her to produce

  10   documents -- because I think category No. 1 is "all

  11   communications" or "all documents" -- or whatever --

  12   regarding the certain conduct, right.        If you want her to

  13   produce consensual communications, which is how the request

  14   currently sits, I'm sure that he will be fine not limiting

  15   the information, and I'm not going to disagree with you if

  16   you choose to allow a broader production under the subpoena.

  17              MR. BROWN:    I understand.     Thank you.

  18              THE COURT:    Does that make sense?

  19              MR. BROWN:    Yes.   Absolutely.     Thank you,

  20   Your Honor.

  21              THE COURT:    All right.    Thank you.

  22              All right.    So now we have a motion to compel filed

  23   by Ms. Hill against Mr. Bauer.

  24              Mr. Kaplan?

  25              MR. KAPLAN:    Thank you, Your Honor.
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   1               So I'm going to try to be brief because, again --

   2               THE COURT:    Please.

   3               MR. KAPLAN:    -- this has all been extensively

   4   briefed and as --

   5               THE COURT:    Yes.   And I have read it, and we have

   6   digested it, and we have talked about it.        So I'm quite aware

   7   of it.   So with that known --

   8               MR. KAPLAN:    Any my voice is going as well so --

   9               THE COURT:    All right.

  10               MR. KAPLAN:    There's two -- well, there's multiple

  11   reasons why the information is highly relevant here.          The

  12   first -- and I think hopefully this is the most obvious, but

  13   at least in part, the Major League Baseball proceeding -- and

  14   I'll use that globally to include both the preliminary

  15   investigation that led up to the suspension and then the

  16   arbitration that challenged that suspension.         At least in

  17   part, those proceedings concerned precisely the same facts

  18   and occurrences that are at -- directly at issue in this

  19   case, which is Mr. Bauer and Ms. Hill's interactions and

  20   Mr. Bauer's battery and sexual battery of Ms. Hill.          So

  21   certainly those -- any documents from those proceedings

  22   concerning that subject matter is obviously directly

  23   relevant.

  24               And we know for sure that Ms. Hill testified for

  25   several days and was cross-examined by Mr. Bauer's counsel at
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   1   the -- during the arbitration, she was interviewed, and

   2   there's all sorts of documents that we've requested or fall

   3   within the umbrella of documents that we've requested that I

   4   believe are, at least, likely to exist, such as transcripts

   5   of testimony by Ms. Hill -- I don't have those.         We know

   6   those exist -- transcripts of Mr. Bauer's testimony, if there

   7   was briefing, if there was any documentary evidence -- the

   8   list goes on.    To the extent there's documents -- and there's

   9   no -- been no dispute from Mr. Bauer -- and I understand he's

  10   trying to be very careful about what he does or does not

  11   disclose, but there's been no dispute that those sort of

  12   documents, as one might imagine, would exist in a formal

  13   arbitration proceeding.      So to the extent there's documents

  14   concerning Ms. Hill and Ms. [sic] Bauer, obviously those are

  15   directly relevant.     There's no reason why those shouldn't be

  16   produced.

  17               Then we have a second category of documents.          It's

  18   likely limited to Doe 4, who -- I don't want to reargue the

  19   prior motion -- who testified at the arbitration, and Doe 2,

  20   who participated but didn't testify, and I think based on the

  21   ruling we just received, that information is also highly

  22   relevant.

  23               Which really leaves us with the issue of, all

  24   right, well, there's so-called confidentiality in some sort

  25   of collective bargaining agreement document between the
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   1   players union and Major League Baseball where they've decided

   2   these proceedings will be confidential subject to what I

   3   would say is a fairly standard carve-out, which is as

   4   required by law or a court order.

   5                And I think that that policy, in particular the

   6   confidentiality provision, foresaw precisely this type of

   7   instance where there could be information from what Major

   8   League Baseball -- or probably, more likely, the players

   9   union -- wanted to maintain as confidential but there would

  10   be a need for someone to obtain that information, for

  11   example, in a court proceeding, like we have today.          And the

  12   Federal Rules of Civil Procedure that govern discovery in

  13   this case are precisely what it requires by law: Mr. Bauer to

  14   turn over the documents that are directly relevant.          Now,

  15   even without that carve-out, the cases that I've cited stand

  16   for the proposition that just because they agree to

  17   confidentiality doesn't mean that they're immunized from

  18   turning over otherwise discoverable information.

  19                The only other point I wanted to raise was what I

  20   characterize as speculation of what my client agreed to with

  21   Major League Baseball, but hopefully the -- any mystery about

  22   that is now out of the box because I have provided to the

  23   Court in my supplemental briefing a redacted copy of that

  24   agreement.

  25                I did include the provisions that show the
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   1   confidentiality provision in that agreement, and what's

   2   material about it is, one, the only confidentiality

   3   obligations imposed on my client are not to disclose the

   4   agreement itself.     There's nothing else in there -- there's

   5   certainly nothing in there that -- where she's agreed that

   6   anything from the Major League Baseball investigation or

   7   subsequent arbitration could not be used in a subsequent

   8   civil action.     And the only thing that Major League Baseball

   9   agreed to keep confidential was whatever information Ms. Hill

  10   disclosed to Major League Baseball, and, again, it was also

  11   subject to the exclusions in the policy, which I -- as I just

  12   discussed, contemplated that information from that policy or

  13   proceedings concerning that policy might need to be disclosed

  14   in a -- some -- by law, in particular in a proceeding, and

  15   that's why it had the "court order or as required by law"

  16   language in it.

  17               So I don't think Mr. Bauer can use that policy or

  18   any agreement to say -- to shield that information, which is

  19   obviously relevant and highly relevant, from discovery.

  20               THE COURT:    Thank you.

  21               MR. KAPLAN:    Thank you, Your Honor.

  22               MR. BROWN:    Your Honor, this arbitration -- this

  23   investigation and arbitration are unusual in several

  24   respects.    One is that it was done -- the arbitration was

  25   done pursuant to not only the collective bargaining agreement
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   1   but, more specifically, within the collective bargaining

   2   agreement the joint policy between the union and Major League

   3   Baseball on sexual assault and domestic violence.           And there

   4   are a number of interests that are expressed in that policy

   5   and -- a number of purposes expressed in that policy, and

   6   they include the protection of the rights of accusers, as

   7   well as protection of players who may be falsely accused, and

   8   to facilitate purported victims of domestic violence to come

   9   forward, that confidentiality provision of the arbitration is

  10   important.

  11                And we know from Doe No. 2, who, again, to use the

  12   words from Ms. Hill's declaration, participated but did not

  13   testify in the arbitration proceeding, there is -- I think

  14   it's a pretty -- it's pretty clear that she relied on that

  15   confidentiality in order to participate and that she does not

  16   want to have her privacy rights invaded any further and

  17   certainly any more publicly than exists here.

  18                We do point out, as I'm sure the Court knows, that,

  19   at least according to Major League Baseball, Ms. Hill herself

  20   agreed to the confidentiality -- to maintain the

  21   confidentiality of those proceedings.        They have presented a

  22   redacted version of the agreement.       We are not in a position

  23   to be able to present the agreement.        We do rely on

  24   Major League Baseball's position that that confidentiality

  25   agreement binds Ms. Hill.      And so there's -- that is another
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   1   feature of the confidentiality that distinguishes this case

   2   from others in which arbitration or confidential documents

   3   may have been permitted in discovery.        That is, both parties

   4   to this case, we maintain, agreed to confidentiality.

   5   There's also the confidentiality interests, as I indicated,

   6   of the other people, as well of Mr. Bauer, who I note had his

   7   suspensions significantly reduced as a result of this

   8   arbitration.    That's a matter of public record, which one

   9   certainly could draw some inferences from, I think, about

  10   what was established at that arbitration, potentially.

  11              So you have all of those features in place here

  12   that provide maximum interests in confidentiality, along with

  13   the more general policy interest that is in the federal law

  14   to promote arbitration and to allow even confidential

  15   arbitration.    No, it is not, and nor do we ever maintain,

  16   that an agreement for confidentiality in an arbitration is an

  17   absolute bar to civil discovery in a federal case.          That's

  18   not our position.     It is that the confidentiality that is

  19   issued here is important enough, in addition to the general

  20   interest and confidentiality for arbitration and the

  21   promotion of arbitration, to protect confidentiality in this

  22   case.

  23              And again, I point to the Rapp v. Fowler case,

  24   where the second one -- the 2022 decision -- in which

  25   Judge Kaplan did rule that he was not going to permit
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   1   discovery in -- of an arbitration that occurred between

   2   Kevin Spacey and, I guess, the producers of the television

   3   show that he was involved with for many years, which included

   4   in the arbitration allegations of sexual assault.          Again,

   5   Judge Kaplan found that the confidentiality interests of the

   6   women involved there -- or the individuals involved there, I

   7   should say, was insufficient -- was so sufficient that -- so

   8   substantial that it would not overcome the interests in

   9   discovering that in any purported arguments for relevancy.

  10              So we would ask the Court to deny the motion to

  11   compel Mr. Bauer to produce materials from the investigation

  12   and the arbitration proceeding.

  13              THE COURT:    Okay.     Can we take them a little bit

  14   more specifically?     We've talked about them pretty broadly,

  15   but let's talk about them -- you guys clumped them together.

  16   We have RFP No. 68, 69, and 114, and in all three of those,

  17   they seek documents in support of "your -- here, being

  18   Mr. Bauer's -- "contention that" -- blah, blah, blah, blah --

  19   "as alleged in your complaint."       That language is in 68, that

  20   language is in 69 --

  21              MR. BROWN:    May I address those, Your Honor,

  22   briefly?

  23              THE COURT:    Well, my question to you is hasn't he

  24   put them at issue by making an allegation --

  25              MR. BROWN:    Well --
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   1               THE COURT:   -- specifically about them in the

   2   complaint, and what would be wrong about requiring him to

   3   produce documents that support his contention?

   4               MR. BROWN:   Well, I actually skipped over a section

   5   of my argument because I thought we had made our point

   6   sufficiently clear in the papers, and I guess we didn't.

   7               But Mr. Bauer -- Mr. Bauer does not contend -- and

   8   we have put this in writing in initial disclosures and

   9   amended discovery responses -- that -- does not contend that

  10   Ms. Hill's allegations caused him to go on administrative

  11   leave, be suspended, or be disciplined by Major League

  12   Baseball.    I can read these discovery requests.       I know what

  13   these discovery requests say.       I do know that in the

  14   complaint it was suggested that that was the basis for it,

  15   but we have made it clear in our amended responses that --

  16   excuse me -- we are not seeking -- we are not seeking to

  17   establish that Ms. Hill caused all of these injuries.          In

  18   fact, the damages that we seek are quite limited and -- or,

  19   frankly, primarily, Mr. Bauer wants to clear his name and

  20   show that these allegations are false, and so we have

  21   significantly scaled down the allegations to the extent that

  22   they suggest that Ms. Hill caused all these events to occur.

  23               So the problem with these requests at this point is

  24   that we don't make these contentions.        These -- 68 and 69.

  25   Those are not allegations that we make any more, to the
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   1   extent they were made before.

   2              THE COURT:    Okay.   Let me hear from Mr. Kaplan on

   3   that --

   4              MR. BROWN:    Okay.

   5              THE COURT:    -- based on that clarification

   6   statement on the record.

   7              MR. KAPLAN:    Well, to be clear, in the initial

   8   disclosures that -- those allegations were not withdrawn.              It

   9   sounds like, maybe, Mr. Brown is withdrawing them right now.

  10              There's still an issue, though, as to -- to the

  11   extent any of the statements my client made are deemed to be

  12   defamatory, there's still -- the jury is still entitled to

  13   look at whether or not -- what level of harm they caused even

  14   if Mr. Bauer is solely seeking assume or presumed damages.

  15   So I still think it's relevant for that reason, but it's

  16   relevant for all the other reasons that we discussed.

  17              I mean, at the end of the day, I think there's

  18   significant overlap with all these document requests in that

  19   essentially what we're seeking -- and maybe we could have

  20   been more streamlined in what we requested, but we're looking

  21   for all the documents from the Major League Baseball

  22   investigation and the Major League Baseball arbitration.           I

  23   think they're all one and the same.        So even if they're no

  24   longer relevant for the issue of causation and damages,

  25   they're still relevant for all the other reasons.
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   1                THE COURT:   Can I ask a question?     What does your

   2   client now allege is the basis of the defamation?          What harm

   3   did it cause if it's not the suspension and the

   4   administrative leave?

   5                MR. BROWN:   Well, we did provide amended discovery

   6   responses.    The -- there are defamation counts, and there are

   7   tortious interference with contract and business

   8   opportunities counts, and we made it crystal clear, we

   9   thought, that Mr. Bauer is seeking nominal damages.          It's

  10   defamation per se, and if there's defamation per se found, he

  11   does not have to prove any damage to reputation or business.

  12   He is seeking nominal damages, and that has been expressed in

  13   writing so it's very clear that that's what we were seeking,

  14   and as I said earlier, it's really about showing that these

  15   allegations were untrue.

  16                So -- and for the tortious interference counts,

  17   there were -- there are damages related to the loss of

  18   business of the -- his sponsorships and some of the sales

  19   from his website, and we confined that to a very discrete

  20   period of time and did it very deliberately, again, in our

  21   amended disclosures because we want the focus to be on these

  22   particular allegations.

  23                There was an article that came out in

  24   The Washington Post that has been referenced -- no names were

  25   mentioned but -- on August 19th.       We stopped our damages
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   1   claim on August 19th of 2021.       I believe that's the date of

   2   the article.    So our position, which we've confirmed in

   3   writing, is quite limited and expressly limited to disavow

   4   any claim that Ms. Hill caused the administrative leave

   5   suspension or suspension or that anything that -- or anything

   6   that happened after August 19, 2021.

   7              THE COURT:    Okay.   That has been -- that wasn't in

   8   an amended response to this discovery yet, though; is that

   9   correct?

  10              MR. BROWN:    That was in amended initial disclosures

  11   --

  12              THE COURT:    Okay.

  13              MR. BROWN:    -- and in some amended -- I'm looking

  14   over at my colleague Ivano to make sure I have this right --

  15   and I thought it was in amended discovery -- interrogatory

  16   responses, but I cannot say that with certainty.

  17              (Counsel confer.)

  18              MR. BROWN:    If it's not and we are obligated to do

  19   so, I think we've made it clear that that's our position, and

  20   so we certainly will do so to the extent it's necessary.           I

  21   believe we put these in interrogatory responses -- amended

  22   interrogatory responses or -- or interrogatory responses

  23   regarding damages, which came later.        Certainly, it was in

  24   those so --

  25              THE COURT:    Okay.   Thank you.
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   1              All right.    Let's see.

   2              (Pause.)

   3              THE COURT:    All right.    Mr. Kaplan, do you have a

   4   reply or a response?

   5              MR. KAPLAN:    Yes.

   6              THE COURT:    I think we went from you to him.       Now

   7   it's your turn again.

   8              MR. KAPLAN:    Okay.

   9              THE COURT:    Yeah.

  10              MR. KAPLAN:    Just very briefly to some of the --

  11   respond to some of the points that Mr. Brown made.

  12              Again, the rights of the accusers were brought up

  13   again in that there was some expectation of confidentiality

  14   during the Major League Baseball proceedings, and just like

  15   we were discussing earlier today, there is -- while this is a

  16   public proceeding, there are ways to deal with issues

  17   concerning privacy and anonymity while -- that we could

  18   employ here.    So I think, just like we were discussing with

  19   the depositions, the same would apply to the materials and

  20   any testimony given by -- I believe it was Doe No. 4 in the

  21   arbitration proceeding, et cetera.       So, again, we have a

  22   stipulated protective order, and I don't know that the names

  23   of these victims are terribly material to this proceeding.

  24   Again, we could refer to them by the "Does" we've given.

  25              THE COURT:    Can I ask you a question?      Why do you
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   1   need the testimony from the arbitration, for example -- and

   2   to me that's sort of the most obvious issue -- if you are

   3   being able to depose the people here?

   4              MR. KAPLAN:    Well, I think what it really gives me

   5   is a way of looking at what the -- let me back up.

   6              My understanding is that these women provided

   7   direct testimony that was elicited by Major League Baseball's

   8   attorney and that essentially will provide a roadmap of the

   9   information.    So it allows me to essentially preview all the

  10   information and know what the testimony is.         So it certainly

  11   aids in efficiency.     Also, I believe that the pertinent

  12   documents, if you will, in particular some of these videos,

  13   were already provided.      So it's really a shortcut, if you

  14   will, for me to get all the information that I need for these

  15   depositions.

  16              Now, there's also a contingency that some of these

  17   witnesses will not appear for their deposition.         I don't know

  18   if that's going to be true or not.       There may be a need to

  19   rely on some of the testimony -- well, it's really the

  20   testimony of one witness.      Now, there may be hearsay

  21   objections from Bauer's -- from Bauer to that, and that might

  22   ultimately be an "in limine motion" type issue, whether or

  23   not the Court's going to say that testimony from a

  24   arbitration where someone's under penalty of perjury and

  25   cross-examined by Mr. Bauer's counsel -- whether or not
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   1   there's a hearsay exception to that or not, but that's also a

   2   possibility, that I may not ultimately get to depose these

   3   witnesses -- or the one witness who testified, I should say.

   4                THE COURT:    All right.   Thank you.

   5                MR. KAPLAN:    The other comment that Mr. Brown made

   6   that I just want to quickly address, and I think I addressed

   7   it in my opening, was Ms. Hill did not agree that -- to

   8   confidentiality for all the proceedings, and she certainly

   9   did not agree that anything that was -- anything from the

  10   proceedings could not be used in the subsequent civil action,

  11   and, again, the language in the domestic violence policy,

  12   which I don't think is binding on Hill, but even if it was,

  13   has an express carve-out for that.

  14                And then, finally, Mr. Brown made a comment about

  15   the suspension being reduced significantly -- or something

  16   like that.    I'm not sure how much that really matters, but if

  17   it does, the suspension, generally speaking, was upheld by

  18   the arbitrator.     I think it was in the neighborhood of

  19   191 games or so, and it was the largest suspension ever under

  20   Major League Baseball's domestic violence policy.          So I think

  21   there is some significance to whatever happened in that

  22   proceeding.

  23                Thank you, Your Honor.

  24                THE COURT:    All right.   Thank you.

  25                All right.    I'm going to take a break and consider
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   1   the argument --

   2              MR. KAPLAN:    Thank you, Your Honor.

   3              THE COURT:    -- and I'll come back with my ruling.

   4         (Recess from 11:30 a.m. to 11:53 a.m.)

   5

   6                                AFTER RECESS

   7         (Call to Order of the Court.)

   8              THE COURT:    All right.    Have a seat.

   9              MR. KAPLAN:    Thank you, Your Honor.

  10              THE COURT:    All right.    This is my ruling:

  11              With regard to RFP Nos. 68 and 69, I am denying the

  12   motion to compel but will require that Mr. Bauer file an --

  13   not file -- serve amended responses that specifically state

  14   that they are withdrawing those allegations.

  15              With regard to RFP No. 114, because the tortious

  16   interference with contract allegation still exists in this

  17   case -- claim -- I am granting the motion to compel.          I find

  18   that the information is relevant to the claims asserted in

  19   this case, that the Court is not bound by the MLB's contract

  20   requirements of confidentiality with Bauer and Hill, and that

  21   Bauer has waived his privacy objections by failing to assert

  22   them in his initial response to the RFP.

  23              With regard to RFP No. 87, I am granting the motion

  24   to compel RFP No. 87.     I find that Hill has met her burden to

  25   establish that the requested information is relevant.          The
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   1   investigations conducted by MLB or law enforcement have all

   2   the same underlying facts at issue in this case, and while

   3   there may be a privacy right, it does not apply to these

   4   specific documents, and the interests our outweighed by

   5   Hill's compelling need for the information for the claims and

   6   defenses at issue.

   7                Now, with regard to RFP No. 92, I'm granting the

   8   motion to compel as to RFP No. 92.       I find that Hill has met

   9   her burden of establishing that the requested information is

  10   relevant and that any rights of privacy are outweighed by

  11   Hill's compelling need for the information for the claims and

  12   defenses asserted in this case.

  13                With regard to RFP No. 93, I am denying the motion

  14   to compel.    This request is largely overbroad, and I find

  15   that Ms. Hill has not met her burden of establishing that the

  16   requested information is proportional in this case.          To a

  17   large degree, my ruling with regard to that is the fact that

  18   there are the depositions.      My ruling might be different if

  19   we find out that the depositions don't occur.         If witnesses

  20   don't show up, then maybe I would have -- might have a

  21   different ruling.

  22                All right?

  23                MR. KAPLAN:    Your Honor, may I ask a clarifying

  24   question as to No. 93?

  25                THE COURT:    Uh-huh.
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   1              MR. KAPLAN:    Is it -- the ruling with or without

   2   prejudice to propounding, I guess, new discovery that's more

   3   focused on certain documents from the arbitration, such as --

   4   the things that I have in mind are dealing with transcripts,

   5   for example, with my client and Mr. Bauer -- stuff like that.

   6              THE COURT:    I'm not going to give a hypothetical

   7   ruling.   I really don't like to do that if I can avoid it.             I

   8   like to really try to make my rulings based on the facts in

   9   front of me.    If your discovery cutoff has not passed, you

  10   are free to serve any discovery that you think is

  11   appropriate, and then we can take up any arguments that may

  12   be appropriate, but this request as written, I'm denying the

  13   motion to compel.

  14              MR. KAPLAN:    Thank you, Your Honor.

  15              THE COURT:    Okay?

  16              All right.    Now, my law clerks tell me that there

  17   may be some ambiguity about my ruling on the motion to quash.

  18   To be -- with regard to Doe No. 4.        I think I said one thing;

  19   they heard something else.       I wanted to make sure that you

  20   guys understood that I was denying the motion to quash as to

  21   2, 3, 4, and 5.

  22              MR. BROWN:    Yes, I understood that.

  23              THE COURT:    Okay.    All right.

  24              MR. BROWN:    Although I did not hear you say "4."

  25              THE COURT:    Okay.    Yeah.   I think I said,
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   1   "2 through 5" --

   2                MR. BROWN:    Okay.   Yeah.

   3                THE COURT:    -- which sounded like "2, 3, 5" to

   4   other people and in my own head sounded like "2 through 5" so

   5   --

   6                MR. BROWN:    But I certainly understood what you

   7   were ruling.

   8                THE COURT:    Okay.   All right.

   9                All right.    Thank you, everybody.

  10                MR. BROWN:    Thank you.

  11                THE COURT:    Now, I will not be issuing a written

  12   ruling.     So, if you need a transcript or something like that,

  13   it's up to you to order.      Okay?

  14                MR. BROWN:    Thank you, Your Honor.

  15                THE COURT:    If you want a written ruling, then I

  16   would request that somebody -- that one of the parties

  17   propose one, you get the other side to sign off on it, and

  18   then you lodge it.     If I have both signatures and if it

  19   comports with my memory of the hearing, then, I'll enter it.

  20   Okay?     Otherwise, we'll just be going based on your best

  21   memory.

  22                MR. KAPLAN:    Thank you, Your Honor.

  23                THE COURT:    All right.      Thank you, everybody.

  24                THE CLERK:    Court is now adjourned.

  25           (Proceedings adjourned at 11:58 a.m.)
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   4                                CERTIFICATE

   5         I certify that the foregoing is a correct transcript

   6   from the electronic sound recording of the proceedings in the

   7   above-entitled matter.

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   9   /s/ Julie Messa                   July 19, 2023
       Julie Messa, CET**D-403           Date
  10   Transcriber

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